Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 1 of 7 Pageid#: 2021




                    EXHIBIT 1
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 2 of 7 Pageid#: 2022
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 3 of 7 Pageid#: 2023
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 4 of 7 Pageid#: 2024
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 5 of 7 Pageid#: 2025
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 6 of 7 Pageid#: 2026
Case 1:22-cv-00023-JPJ-PMS Document 82-1 Filed 07/16/24 Page 7 of 7 Pageid#: 2027
